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               United States District Court
       _________DISTRICT OF NEW HAMPSHIRE_________
                                 United States of America

                                               v.

                                        Ian Freeman

                           CASE NUMBER: 1:21-cr-00041-JL-01

             DEFENDANT’S COMMENT ON GOVERNMENT’S PROPOSED
                      RELEASE CONDITIONS PLEADING

       1.      As to Paragraph #1 of the Government’s pleading, the Defendant agrees.

       2.      All comments set forth in Government’s Paragraph #2 were already expressed

during the hearing.

       3.      All comments set forth in Paragraph #3 were covered at the hearing.

       4.      The Defendant agrees that this Court requested proposed conditions of release.

       5.      The Defendant is a medical marijuana card holder. He has never had a drug

addiction problem. He has never had an alcohol problem.

       6.      The Defendant understands the no-contact provision.

       7.      The Government has already stated its concern in Paragraph #7. This Court has

recognized that the Defendant has never failed to appear for any Court proceeding. In fact, this

Court could not find that he posed a flight risk merely based on the Government’s “concern.”

The Defendant would agree with reasonable conditions of home confinement. He would be able

to confirm his whereabouts by check in procedures with Probation, including him literally

videoing himself at his home upon requests.




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       8.       The subject of cash bail was discussed with the Government on May 11, 2021.

The discussion was with Attorney Aframe and Attorney Kennedy. It was agreed that the

Government would request a $200,000 cash bail and the Defendant would request a $100,000

cash bail, leaving the actual amount to be set by this Court.

       9.       The Defendant understands the Government’s concerns in its Paragraph #9 and

looks forward to working with U.S. Probation to clarify appropriate computer usage.

       10.      The Defendant is willing and able to comply with reasonable conditions and

maintains that the conditions requested are sufficient to guarantee his presence at trial and would

safeguard the community.

                                              Respectfully submitted,

May 13, 2021
________________________________              _________________________________________
Date                                          Signature
                                                      Mark L. Sisti______________________
                                              Print Name
                                                      387 Dover Road_____________________
                                              Address
                                                       Chichester, NH 03258______________
                                              City                 State       Zip Code
                                                       (603) 224-4220_____________________
                                              Phone Number

                                       CERTIFICATION

       I hereby certify that a copy of this appearance was forwarded to Assistant United States
Attorneys Georgiana MacDonald, Seth Aframe, and John Kennedy, electronically through EFC
on May 13, 2021.

May 13, 2021
________________________________              __________________________________________
Date                                          Signature

                                              Mark L. Sisti______________________
                                              Print Name




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